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IN THE UNITED STATES DISTRICT COURT

FOR THE WESTERN DISTRICT OF TENNESSEEOSJUL,;?|"'$=“S
WESTERN DIVISION

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\‘M) Oz~ `§N_ :?-MPHiS
UNITED sTATES oF AMERICA,

Plaintiff,
vs. Cr. No. 05-20038-B[P

JASON OWENS,

Defendant.

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ORDER GRANTING DEFENDANT'S MOTION TO WITHDRAW FROM COUNSEL

 

Before the court is defendant's Motion. to Withdraw from
Counsel for Jason Owens, filed June 23, 2005 (dkt #73). Counsel
has recently been appointed as Judge of Division VI of the Circuit
Court of Tennessee for the Thirtieth Judicial District of Memphis,
therefore, the motion is GRANTED. The Clerk of Court is to appoint
new counsel from the CJA Panel to represent the defendant in this
matter.

IT IS SO ORDERED.

 

TU M. PHAM`
United States Magistrate Judge

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Date J

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This notice confirms a copy of the document docketed as number 77 in
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Honorable .1. Breen
US DISTRICT COURT

